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                      Exhibit A
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                                   Texas v. Biden Monthly Report
                           Reporting Period: April 1, 2022 – April 30, 2022


(1) The total monthly number of encounters1 at the southwest border (SWB);

Encounter data includes U.S. Border Patrol (USBP) Title 8 Apprehensions2 between the ports of entry along the
SWB, Office of Field Operations (OFO) Title 8 Inadmissibles3 at land ports of entry along the SWB, and Title
42 Expulsions4 at and between the ports of entry along the SWB.


                April 2022 as of May 4, 2022              Title 42           Title 8        Total Encounters
                Office of Field Operations                     2,250            30,038                 32,288
                  El Paso Field Office                           162              1,284                 1,446
                  Laredo Field Office                          1,069              5,800                 6,869
                  San Diego Field Office                         777            22,257                 23,034
                  Tucson Field Office                            242                697                   939
                U.S. Border Patrol                            94,658           107,142                201,800
                  Big Bend Sector                              2,219              1,143                 3,362
                  Del Rio Sector                              14,984            25,871                 40,855
                  El Centro Sector                             3,104              3,143                 6,247
                  El Paso Sector                              14,875            14,963                 29,838
                  Laredo Sector                               11,039              1,501                12,540
                  Rio Grande Valley Sector                    17,981            23,795                 41,776
                  San Diego Sector                            10,014              4,588                14,602
                  Tucson Sector                               18,678              6,559                25,237
                  Yuma Sector                                  1,764            25,579                 27,343
                Grand Total                                   96,908           137,180                234,088




1
  The sum of Title 8 apprehensions/inadmissible aliens and expulsions.
2
  Apprehension refers to the physical control or temporary detainment of a person who is not lawfully in the U.S. which may or may
not result in an arrest.
3
  Inadmissible refers to individuals encountered at ports of entry who are seeking lawful admission into the United States but are
determined to be inadmissible, individuals presenting themselves to seek humanitarian protection under our laws, and individuals who
withdraw an application for admission and return to their countries of origin within a short timeframe.
4
  Expulsions refers to individuals encountered by USBP and OFO and expelled to the country of last transit or home country in the
interest of public health under Title 42 U.S.C. 265.

                                                                 1
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(2) The total monthly number of aliens expelled under Title 42, Section 1225, or under any other statute;

            Title 42 expulsions at and between the ports of entry along the SWB5
                             April 2022 as of May 4, 2022                  Title 42
                             Office of Field Operations                            2,250
                               El Paso Field Office                                  162
                               Laredo Field Office                                 1,069
                               San Diego Field Office                                777
                               Tucson Field Office                                   242
                             U.S. Border Patrol                                   94,658
                               Big Bend Sector                                     2,219
                               Del Rio Sector                                     14,984
                               El Centro Sector                                    3,104
                               El Paso Sector                                     14,875
                               Laredo Sector                                      11,039
                               Rio Grande Valley Sector                           17,981
                               San Diego Sector                                   10,014
                               Tucson Sector                                      18,678
                               Yuma Sector                                         1,764
                             Grand Total                                          96,908

            Southwest Land Border Removals/Returns under Title 8, based on encounter date6
                  Total Removals and Returns Under Title 8             April 2022
                  U.S. Border Patrol                                           13,438
                                     7
                    Bag and Baggage                                               101
                                     8
                    Voluntary Return                                            2,746
                    Expedited Removal                                           6,383
                    Reinstatement of Removal                                    3,109
                    Returns Pursuant to 8 U.S.C. § 1225(b)(2)(C)                1,099
                  Office of Field Operations                                    1,733
                    Bag and Baggage
                    Voluntary Return                                               57
                    Expedited Removal                                             474
                    Reinstatement of Removal                                        2
                    Withdrawal of Application for Admission                     1,200


5
  Same as Title 42 expulsion data provided in response to 1 above.
6
  Indicates that the noncitizen was encountered during the reporting period (April 1, 2022 – April 30, 2022).
7
  When a noncitizen encountered or apprehended by CBP has been previously ordered removed by an immigration judge and the order
was never executed (i.e., in absentia). The removal order may be immediately executed by CBP or CBP may turn the noncitizen over
to ICE for removal.
8
  Constitutes a request by a non-citizen to be permitted to return to their country of citizenship on a voluntary basis, in lieu of being
formally removed or placed into removal proceedings.

                                                                   2
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                   Returns Pursuant to 8 U.S.C. § 1225(b)(2)(C)
                 Grand Total                                                                       15,171


(3) Defendants’ total detention capacity as well as current usage rates;

         OFO Holding Capacity – Southwest Border in Custody9
                Detention Capacity        April 2022
                        935              325 (34.8%)10

         USBP Average Daily Subjects In Custody by Southwest Border Sector11
                USBP Sector         April 2022
                Big Bend                       55
                Del Rio                     1,448
                El Centro                     257
                El Paso                     2,341
                Laredo                      1,153
                Rio Grande                  2,390
                San Diego                     693
                Tucson                        676
                Yuma                        2,190
                Total                      11,204




9
  Represents an estimate of each cell's coded occupancy limit, as outlined in technical design standards when constructed, multiplied
by the total number of cells for all ports of entry within each field office. This number does not account for the unique circumstances
that may limit the occupancy of a given cell (e.g., high risk, nursing/pregnant, transgender, unaccompanied minor, etc.) nor does it
reflect operational limitations that affect a port's capacity to detain. CBP’s capacity to detain individuals in its short-term facilities
depends on many factors, including: demographics of the individual in custody; medical or other needs of individuals in custody;
ability of ICE ERO (or, if an unaccompanied child, the U.S. Department of Health and Human Services) to transfer individuals out of
CBP custody; and OFO's available resources to safely process and hold individuals.
10
   Represents the average number of travelers in custody on a daily basis averaged over the number of days in the calendar month, at
all Southwest Border Field Office locations. Travelers include inadmissible individuals, lawful permanent residents, asylees, refugees,
and United States Citizens who are being detained to verify wants, warrants, criminal, administrative or other judicial process.
11
   U.S. Border Patrol facilities, such as stations and central processing centers, provide short-term holding capacity for the processing
and transfer of individuals encountered by agents. Maximum facility capacity along the southwest border is approximately 5,000,
which assumes a homogenous population and full operating status at all facilities. Actual capacity fluctuates constantly based on
characteristics of in-custody population, to include demographics, gender, criminality, etc. The average percentage of subjects in
custody on a daily basis is 203%, which is averaged over the number of days in the calendar month and includes all Southwest Border
Sector locations.
                                                                    3
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                                     4
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(4) The total monthly number of “applicants for admission”12 under Section 1225;

                                       April 2022 as of May 4, 2022                  Title 8
                                       Office of Field Operations                       30,038
                                         El Paso Field Office                             1,284
                                         Laredo Field Office                              5,800
                                         San Diego Field Office                         22,257
                                         Tucson Field Office                                697
                                       U.S. Border Patrol                              107,142
                                         Big Bend Sector                                  1,143
                                         Del Rio Sector                                 25,871
                                         El Centro Sector                                 3,143
                                         El Paso Sector                                 14,963
                                         Laredo Sector                                    1,501
                                         Rio Grande Valley Sector                       23,795
                                         San Diego Sector                                 4,588
                                         Tucson Sector                                    6,559
                                         Yuma Sector                                    25,579
                                       Grand Total                                     137,180


(5) The total monthly number of “applicants for admission” under Section 1225 paroled into the United
    States; and
                      Southwest Border Paroles                                               April 2022
                      U.S. Border Patrol                                                                  40,023
                        Parole Disposition                                                                40,023
                      Office of Field Operations                                                          48,429
                        NTA and Paroled into the U.S. on a case-by-
                                                                                                          27,654
                        case basis pursuant to 8 U.S.C. § 1182(d)(5)
                        Parole Disposition                                                                20,775
                      Grand Total                                                                         88,452




12
  An applicant for admission is defined as “[a]n alien present in the United States who has not been admitted or who arrives in
the United States (whether or not at a designated port of arrival and including an alien who is brought to the United States after having
been interdicted in international or United States waters).” 8 U.S.C. § 1225(a)(1). Thus, an applicant for admission may include
noncitizens that have never been encountered by CBP. At this time, CBP does not have a mechanism to track all applicants for
admission in the United States that are not encountered by CBP. CBP has included the same data as the Title 8 encounter data
provided in response to 1 above.

                                                                    5
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(6) The total monthly number of “applicants for admission” under Section 1225 released into the United
    States, paroled or otherwise.”13


                      Southwest Border Releases                                                                 April 2022

                      U.S. Border Patrol                                                                                       61,778
                        Notice To Report14
                        Notice to Appear - Order of Release on Recognizance                                                    21,755
                        Parole Disposition                                                                                     40,023
                      Office of Field Operations                                                                               48,429
                        NTA and Paroled into the U.S. on a case-by-case basis
                                                                                                                               27,654
                        pursuant to 8 U.S.C. § 1182(d)(5)
                        Parole Disposition                                                                                    20,775
                      Grand Total                                                                                            110,207




13All numbers in reporting requirement 6 are “based on encounter date,” as defined above.
14Individuals who are screened by CBP, and after criminal and immigration records checks are conducted to determine if the subject is a threat to
national security or public safety, are then released and instructed to report to U.S. Immigration and Customs Enforcement (ICE) for continued
processing.
                                                                         6
